Case 8:19-cv-00188-JSM-SPF Document 8 Filed 04/30/19 Page 1 of 2 PageID 26




                        UNITED STATES DISTRICT COURT
                         MIDDLE DISTRICT OF FLORIDA
                                TAMPA DIVISION
                          Case No. 8:19-cv-00188-JSM-SPF

 ASHER WALLI, individually, and on behalf of
 all others similarly situated,

        Plaintiff,

 v.

 ADZEEY, LLC, doing business as
 THE SOCIAL AGENT,

       Defendant.
 ______________________________________________/

         NOTICE OF VOLUNTARY DISMISSAL WITHOUT PREJUDICE

        Plaintiff, Asher Walli, by and through his undersigned attorneys, pursuant to Rule

 41(a)(1)(A)(i), Fed. R. Civ. P., hereby files this Notice of Voluntary Dismissal without

 Prejudice.


                                                    Respectfully submitted,

                                                    Shawn A. Heller, Esq.
                                                    Florida Bar No. 46346
                                                    shawn@sjlawcollective.com
                                                    Joshua A. Glickman, Esq.
                                                    Florida Bar No. 43994
                                                    josh@sjlawcollective.com

                                                    Social Justice Law Collective, PL
                                                    974 Howard Ave.
                                                    Dunedin FL 34698
                                                    Tel: (202) 709-5744

                                                    Peter Bennett
                                                    Florida Bar No. 68219
                                                    peterbennettlaw@gmail.com
                                                    Richard Bennett
                                                    Florida Bar No.150627



                                            1
Case 8:19-cv-00188-JSM-SPF Document 8 Filed 04/30/19 Page 2 of 2 PageID 27




                                                           richardbennett27@gmail.com

                                                           Bennett & Bennett
                                                           1200 Anastasia Ave., Ofc 360
                                                           Coral Gables, Florida 33134
                                                           Tel: (305) 444-5925


                                                           By: s/ Shawn A. Heller         .
                                                                 Shawn A. Heller



                               CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that the foregoing was electronically filed with the Clerk of

 the Court using the CM/ECF system, on this 30th day of April 2019, which will send a

 notice of electronic filing to all attorneys of record.

                                                           By: s/ Shawn A. Heller             .
                                                                 Shawn A. Heller, Esq.




                                                2
